                                                                                                                                         Rev (11/2020)
                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE SOUTHERN DISTRICT OF ALABAMA

        IN RE:                                                                                     Case No.

        Tamika Baxter                                                                              Chapter 13



        SSN:       xxx-xx-5811                                                    SSN:

        Date: November 24, 2020

                                                                          CHAPTER 13 PLAN
                                                                     Check if this is an Amended Plan

1.           NOTICES

TO CREDITORS: YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED,
MODIFIED, OR ELIMINATED.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, your attorney or you must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the bankruptcy court.
The bankruptcy court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
3015.

To file an objection to confirmation. Objections to confirmation may be filed electronically using the CM/ECF system or by
mailing or delivering the objection to the court so that it is received before the deadline described above. The court’s address is
U.S. Bankruptcy Court, 113 St. Joseph Street, Mobile, Alabama 36602.

Proofs of claim. Creditors must file timely proofs of claim to be paid by the chapter 13 trustee pursuant to the plan. Proofs of
claim may be filed using the Electronic Proof of Claim (ePOC) program located on the court’s website at www.alsb.uscourts.gov.
You may also file a proof of claim by mailing or delivering it to the court at the address listed above so that it is received before
the claims bar date.

Confirmation of this plan does not bar the debtor(s), trustee, or a party in interest from objecting to a claim. Confirmation of this
plan does not constitute the allowance or disallowance of the amount of a creditor’s claim, but it does control how the claim will
be paid under the plan.

Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “not included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.

  1.1             A limit on the amount of a secured claim, set out                        INCLUDED                       NOT INCLUDED
                  in § 7.1, which may result in a partial payment or
                  no payment at all to the secured creditor
  1.2             Nonstandard provision, set out in § 13                                    INCLUDED                     NOT INCLUDED
  1.3             Avoidance of security interests or liens                               NOT INCLUDED -- requires a separate motion or adversary
                                                                                         proceeding in this district

2.            PAYMENT AND LENGTH OF PLAN

For 36 months debtor(s) will make regular monthly payments to the trustee as follows:

$85.00 per month for 36 months

                                                                                     1
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Plan payments shall be paid directly to the chapter 13 trustee at the following address: P.O. Box 1779, Memphis, TN
38101-1779. Debtor(s) shall commence plan payments within one month of the petition date. If the debtor(s) are eligible for a 36
month plan but the term set out above is greater, debtor(s) move the court to extend the plan term to the proposed period.

3.           PRECONFIRMATION ADEQUATE PROTECTION PAYMENTS TO SECURED CREDITORS

The trustee shall make the following adequate protection payments to secured creditors prior to the confirmation of this plan
pursuant to Bankruptcy Code § 1326(a)(1):

                     CREDITOR                                          COLLATERAL DESCRIPTION                     AMOUNT OF MONTHLY
                                                                                                                      PAYMENT
 -NONE-

The trustee shall commence making such payments to creditors holding allowed secured claims consistent with the trustee’s
distribution process and only after the timely filing of a proof of claim by such creditor. Upon confirmation, the treatment of such
claims will be governed by Sections 4 and 7.

4.            POST-CONFIRMATION ALTERNATE MONTHLY PAYMENTS TO SECURED CREDITORS

The trustee shall make the following Alternate Monthly Payments (AMP) beginning on the first distribution after entry of a
confirmation order and until the attorney’s fees provided for in Section 5 are paid in accordance with the applicable local rule or
administrative order.

                        CREDITOR                                         COLLATERAL DESCRIPTION                AMOUNT OF AMP PAYMENT
 None

5.           ATTORNEY’S FEES FOR DEBTOR(S)’ BANKRUPTCY COUNSEL

The trustee shall pay the following attorney’s fees pursuant to the applicable local rule or administrative order.

                             DEBTOR'S COUNSEL                                               FEE TO BE PAID THROUGH PLAN
 William J. Casey, II 7413-S81W                                                                                                          1,780.00
                                                                                        (Total Fee of $2,000.00 less $220.00 paid prior to filing.)

6.           DOMESTIC SUPPORT OBLIGATIONS

The trustee shall pay the following pre-petition domestic support obligations (DSO) pursuant to Bankruptcy Code § 507(a)(1) unless
the claimant agrees or the court orders otherwise. Each DSO creditor shall receive the proposed Alternative Monthly Payments
(AMP) along with the payments to secured creditors described in Section 4. Once the attorney’s fees are paid in full, the DSO
creditor shall be paid the proposed preference payment along with the payments described in Sections 7 and 8. The debtor(s) shall
directly pay all domestic support obligations that become due after the filing of the petition. A DSO creditor must file a proof of
claim for any prepetition DSO to be paid by the trustee. Unless otherwise ordered by the court or by express written consent of the
creditor, the amount of a claim for prepetition DSO stated on a proof of claim filed in accordance with the Bankruptcy Rules controls
over any contrary amount listed below.

              DSO CREDITOR                                   SCHEDULED PREPETITION        AMOUNT OF AMP              PREFERENCE PAYMENT
                                                                     DSO                    PAYMENT
 -NONE-

7.           TREATMENT OF SECURED CLAIMS

7.1          Request for valuation of secured claims, payment of secured claims, and modification of undersecured claims

This section is effective only if the applicable box in section 1.1 of this plan is checked.


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Debtor(s) request that the court determine the value(s) of the collateral and the amount(s) of the secured claim(s) listed below. For
each listed claim, the amount of the secured claim will be paid in full with interest at the rate stated below.

For each non-governmental secured claim listed below, debtor(s) state that the amount of the secured claim should be the lesser of (a)
the amount of the secured claim stated on the creditor’s proof of claim and (b) the amount set out in the column headed “Amount of
Secured Claim.” If a non-governmental creditor timely objects to the proposed value of the creditor’s collateral or the proposed
amount of the creditor’s secured claim, the confirmation hearing shall include a valuation hearing pursuant to 11 U.S.C. § 506 and
Bankruptcy Rule 3012 unless otherwise ordered. If a non-governmental creditor whose claim is listed below fails to timely object, the
creditor shall be deemed to have accepted the amount and treatment of the creditor’s secured claim set forth below.

For secured claims of governmental units, unless otherwise ordered, the amount of a secured claim stated on a proof of claim filed in
accordance with the Bankruptcy Rules controls over any contrary amount listed below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under section 9
of this plan.

              CREDITOR                                      COLLATERAL                  AMOUNT OF     INTEREST         §1325(a)(5)
                                                            DESCRIPTION               SECURED CLAIM     RATE       PLAN PAYMENT
 -NONE-

7.2          Secured claims excluded from valuation under Bankruptcy Code § 506

The claims listed below were either: (a) incurred within 910 days before the petition date and secured by a purchase money security
interest in a motor vehicle acquired for the personal use of the debtor(s), or (b) incurred within 1 year of the petition date and secured
by a purchase money security interest in any other thing of value.

The trustee shall pay these claims in full with interest at the rates stated below. Unless otherwise ordered by the court, the amount of a
secured claim stated on a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed
below, but the interest rate is governed by the plan.

              CREDITOR                                      COLLATERAL                  SCHEDULED     INTEREST     § 1325(a)(5) PLAN
                                                            DESCRIPTION                 AMOUNT OF       RATE           PAYMENT
                                                                                      SECURED CLAIM
 -NONE-

7.3          Curing defaults and maintaining direct payments on long-term secured debt

Debtor(s) shall maintain the following monthly payments and pay them directly to creditor. The trustee shall pay allowed claims for
arrearages at 100% pro rata through this plan without interest after payments set forth in sections 6, 7.1, and 7.2. A creditor must file
a proof of claim for any arrearage amount in order to be paid by the trustee pursuant to the plan. Unless otherwise ordered by the
court, the arrearage amount stated on a proof of claim filed in accordance with the Bankruptcy Rules governs over any contrary
amount listed below.

                 CREDITOR                                 COLLATERAL DESCRIPTION               CURRENT             SCHEDULED
                                                                                             INSTALLMENT           ARREARAGE
                                                                                               PAYMENT
 BSI Financial Services                               604 Delware St Mobile, AL 36603                  954.00                            0.00
                                                      Mobile County


8.           PRIORITY CLAIMS (EXCLUDING DOMESTIC SUPPORT OBLIGATIONS)

The trustee shall pay all priority claims pursuant to § 1322(a)(2) in full, pro rata. Unless otherwise ordered by the court, the claim
amount stated on a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.

                CREDITOR                                               TYPE OF PRIORITY                    SCHEDULED AMOUNT


                                                                                  3
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                CREDITOR                                               TYPE OF PRIORITY                  SCHEDULED AMOUNT
 -NONE-

9.           NONPRIORITY UNSECURED CLAIMS

Allowed nonpriority unsecured claims shall be paid through the distribution of all available disposable income at a percentage to be
determined at confirmation for the number of months set forth in Section 2. The confirmation order will specify the percentage, and
unsecured creditors will have a supplemental opportunity at that time to object to any preconfirmation plan amendments which
affected the treatment of unsecured claims. No interest shall be paid on general unsecured claims.

10.          SURRENDERED PROPERTY

Debtor(s) propose to surrender the following collateral (or their interest, if there are other co-owners). Upon confirmation, the
automatic stay shall terminate as to the surrendered collateral, the co-debtor stay shall terminate as to any debt listed below, and
debtor(s) shall make any surrendered personal property reasonably available to the creditor. Any claim submitted by the creditor will
receive no distribution under the plan until the creditor files an amended proof of claim reflecting any deficiency after disposition of
the collateral.

                                         CREDITOR                                             COLLATERAL DESCRIPTION
 -NONE-

11.          EXECUTORY CONTRACTS, INCLUDING UNEXPIRED LEASES OF REAL OR PERSONAL PROPERTY

Debtor(s) assume or reject the following executory contracts (including any unexpired leases of real or personal property) as set out in
the table below.

Assumed executory contracts. Debtor(s) shall make directly to the creditor all contractual payments which become due between the
petition date and confirmation. Upon confirmation, the executory contract shall be deemed to be assumed by the debtor(s) -- not the
trustee or bankruptcy estate. Debtor(s) shall make directly to the creditor all contractual payments which become due after
confirmation. Unless otherwise provided in section 13, debtor(s) shall cure any prepetition default by making supplemental equal
monthly payments directly to the creditor within the shorter of 6 months from confirmation or the remaining term of the contract.

Rejected executory contracts. Upon confirmation, the automatic stay shall terminate as to any property which is the subject of a
rejected executory contract, the co-debtor stay shall terminate as to rejected executory contracts, and debtor(s) shall make any
personal property which is the subject of a rejected executory contract reasonably available to the creditor. Any claim submitted by a
creditor whose executory contract has been rejected will receive no distribution under this plan until the creditor files an amended
proof of claim reflecting any deficiency balance remaining following rejection.

 CREDITOR                                                    PROPERTY DESCRIPTION                  ASSUME             REJECT
 None

12.          OTHER PLAN PROVISIONS

12.1         Property of the estate

Property of the bankruptcy estate shall not vest in the debtor(s) until discharge or dismissal of the case. Notwithstanding the
foregoing, any claims or causes of action which have not been liquidated and collected by the trustee by the time of discharge remain
property of the estate pending further order of the court.

12.2         Monthly bills by creditors or lessors being paid directly

Secured creditors and lessors to be paid directly by the debtor(s) and/or co-debtor(s) may continue to mail customary monthly notices
or coupons notwithstanding the automatic stay.

12.3         Exemption limitations



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The debtor(s)’ exemptions in real and personal property are specifically limited to those allowed under applicable state and federal
laws. To the extent that debtor(s)’ asset values exceed allowable exemption limits, the non-exempt portions are property of the estate
and subject to distribution by the trustee. The terms of this provision shall not be construed to limit or abrogate the rights of parties in
interest to object to exemptions pursuant to the Bankruptcy Code or in any way limit the debtor(s)’ rights regarding the postpetition
equity accrual of assets.

12.4         Payment of filing fee

Unless otherwise provided in section 13, the trustee will pay the filing fee in a lump sum as an administrative expense after sufficient
funds are on hand and before any other case disbursements.

12.5         Lien retention

The holder of any secured claim listed in sections 7.1 or 7.2 will retain the lien on its collateral until the earlier of: (a) payment of the
underlying debt determined under nonbankruptcy law or (b) discharge of the underlying debt under Bankruptcy Code § 1328, at which
time the lien will terminate and must be released by the creditor.

13.          NONSTANDARD PLAN PROVISIONS

Under Bankruptcy Rule 3015(c), any nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in this district’s Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
The following plan provisions will be effective only if there is a check in the box “Included” in section 1.2.




       /s/ Tamika Baxter                                                              November 24, 2020
       DEBTOR'S SIGNATURE                                                             DATE




       DEBTOR'S SIGNATURE                                                             DATE



       /s/ William J. Casey, II                                                       November 24, 2020
       DEBTOR'S COUNSEL'S SIGNATURE                                                   DATE

       By filing this document, the attorney for debtor(s) (or debtor(s), if unrepresented) certifies that the wording and order
       of the provisions in this Chapter 13 plan are identical to those contained in the model plan for the Southern District of
       Alabama, other than any nonstandard provisions included in Section 13.




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